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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO

 STUDENT RESOURCE CENTER,  )
 LLC,                      )                             Case No. 2:22-cv-2653
                           )
      Plaintiff,           )                             Chief Judge Algenon L. Marbley
                           )
 v.                        )                             Magistrate Judge Chelsey M.
                           )                             Vascura
 EASTERN GATEWAY COMMUNITY )
 COLLEGE,                  )
                           )
      Defendant.           )

 AGREED ORDER OF DISMISSAL AND PREJUDGMENT ATTACHMENT RELEASE

        Pursuant to the Joint Motion for Order of Dismissal and Prejudgment Attachment Release

(“Motion”) (ECF No. 184) of Plaintiff Student Resource Center (“SRC”) and Defendant Eastern

Gateway Community College (“EGCC”), the Court hereby grants EGCC’s Motion.

        It is, therefore, ORDERED and DECREED as follows:

        1.        Pursuant to the agreement of SRC and EGCC, all claims and counterclaims in this

action are hereby dismissed with prejudice with each party bearing its own costs and expenses.

        2.        All prejudgment attachments issued by this Court are hereby vacated, released and

discharged.

        3.        The Court’s August 20, 2024 Order (ECF No. 145) granting SRC’s Motion for Writ

of Prejudgment Attachment is hereby VACATED.

        4.        The Court’s September 27, 2024 Order of Prejudgment Attachment (ECF No. 149) is

hereby VACATED.

        5.        The Sheriff of Jefferson County, Ohio (“Sheriff”), as the levying officer in Jefferson

County, Ohio, is hereby instructed to discharge and remove any and all the liens created by this

Court’s prior orders, specifically including any remaining liens on the following real property and

related assets:


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              a.      The “Pugliese Center” property, located at 110 John Scott
                      Highway, Steubenville, Ohio, Parcel No. 07-11934-001 as legally
                      described in the deed and property card, attached hereto as
                      EXHIBIT A and made a part hereof; and

              b.      The “Main Steubenville Campus” property, located at 4000 Sunset
                      Blvd., Steubenville, Ohio, Parcel No. 08-01519-000 as legally
                      described in the description and property card attached hereto as
                      EXHIBIT B and made a part hereof.

       5.     The Recorder of Jefferson County, Ohio (“Recorder”) shall record this Order as a

release of lien on both the above-referenced “Pugliese Center” property and “Main Steubenville

Campus” property.

       6.     The Clerk of the Court is instructed to serve certified copies of this Order, and the

exhibits attached hereto, upon counsel for all parties that have appeared in this action, and the

following Jefferson County departments:

              Sheriff’s Department
              Jefferson County Justice Center
              16001 St. Rt. #7
              Steubenville, OH 43952

              Recorder’s Office
              Jefferson County Courthouse
              301 Market Street, Room 101
              Steubenville, OH 43952

       The Clerk of the Court is further instructed to transmit courtesy copies of this Order

to the chambers of Judge Michelle G. Miller, as the presiding judge of related matters filed in the

Court of Common Pleas for Jefferson County, Ohio.

        IT IS SO ORDERED.

                                             ___________________________________
                                             ALGENON L. MARBLEY
                                             UNITED STATES DISTRICT JUDGE
DATE: ______________




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Agreed to:

Dated: June 23, 2025

 /s/ Robert S. Folland                      /s/ Adam D. Fuller
 Robert C. Folland (0065728)                Adam D. Fuller (#0076431)
 C. David Paragas (0043908)                 Justin M. Alaburda (#0082139)
 David M. DeVillers (0059456)               Victoria L. Ferrise (#0085012)
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                                            Special Counsel for Defendant Eastern
                                            Gateway Community College




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